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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                           DISTRICT OF NEW JERSEY

LAW OFFICES OF TIMOTHY R. HOTT , P.C.
100 Challenger Road - Suite 402
Ridgefield Park, New Jersey 07660
Telephone (201) 994-0400
Facsimile (201) 994-0401
Timothy R. Hott, Esq.
Email: TimHott@Gmail.com
(TH 6729)
Attorney for the Plaintiffs
 IBEW Local 102 Welfare, Pension,
 Surety and Joint Apprenticeship Training                 CIVIL ACTION
 Funds and their Boards of Trustees, and
 the IBEW Local 102 Distribution Fund as               CIVIL ACTION NO.
 collection agent for the National
 Electrical Benefit Fund for and on behalf
 of its Trustees and IBEW Local Union
 No. 102 ,

                         Plaintiff(s)                   COMPLAINT
             vs.

 Cestone Electric Company, Inc.
 23 Jackson Street
 Little Falls, New Jersey 07424

                        Defendant(s)


      PLAINTIFFS, IBEW Local Union No. 102 , IBEW, Local 102 Welfare, Pension,

Annuity and Joint Apprenticeship Training Funds and their Boards of Trustees, and

IBEW Local No. 102, an unincorporated labor organization, both having their

principal office at 50 Parsippany Road, Parsippany, Morris County, New Jersey,

complaining of the Defendant, Cestone Electric Company, Inc., whose principal

offices are located at 23 Jackson Street, Little Falls, Passaic County, New Jersey

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                                   THE PARTIES

1.    Plaintiffs, IBEW Local 102 Welfare, Pension, Surety and Joint Apprenticeship

      Training Funds and their Boards of Trustees, each are trusts or parts of trusts

      established pursuant to Sections 302[c](5) of the National Labor Relations Act,

      as amended (29 U.S.C. 186 [c](5)), and pursuant to E.R.I.S.A., 29 U.S.C.

      1001, et seq. for the purpose of providing pension, welfare and surety and

      other benefits for employees of employers covered by the provisions of a

      collective bargaining agreement between the IBEW Local Union No. 102

      (hereinafter "Union") and such employers signed to collective bargaining

      agreements with said Union or by virtue of said employer’s having given

      collective bargaining authority to. The Boards of Trustees of the Funds consist

      of an equal number of Union and Employer representatives appointed by their

      respective appointing entities to administer said Funds.

2.    Plaintiff, IBEW Local Union No. 102 (“Union”) is an unincorporated labor

      organization which is the exclusive collective bargaining representative of

      employees of employers who are parties to a collective bargaining agreement

      with the Northern New Jersey Chapter, Inc. of the National Electrical

      Contractors Association (Association) which Association is the collective

      bargaining representative of employers of employees represented by the

      Union.

3.    IBEW Local 102 Distribution Fund as collection agent for the National Electrical

      Benefit Fund (NEBF) for and on behalf of its Trustees wherein NEBF is


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      established pursuant to Sections 302 ©)(5), and pursuant to E.R.I.S.A., 29

      U.S.C. 1001, et seq. For the purpose of providing pension benefits for

      employees of employers, including Cestone Electric Company, Inc., who are

      covered by the provisions of collective bargaining agreements which require

      said employers to pay money to the NEBF on behalf of employees of the

      employer who work under such agreements.

4.    Defendant, Cestone Electric Company, Inc., is an employer who employs

      employees who are represented by the Union. Defendant is bound to the

      current collective bargaining agreement between the Union and the

      Association as described in paragraph #1, above and has prior thereto been

      party to and bound by other such collective bargaining agreements which

      require Cestone Electric Company, Inc., to make payments to the plaintiff

      Fund, above, for and on behalf of employees employed by the company.

                                   JURISDICTION

5.    Jurisdiction of this Court is invoked in this matter under 29 U.S.C. 185, 29

      U.S.C. 1145 of ERISA 29 U.S.C. 1001 et seq and generally under 28 U.S.C.

      1331, federal questions jurisdiction.

6.    Jurisdiction of this Court is also invoked under 29 U.S.C. 1132(a)(3)(B) and 29

      U.S.C. 1132(g)(2) to enforce the rights of Plaintiffs as to their procedures for

      collection of moneys due said Funds and their procedures for verifying the

      accuracy of the contributions made to said Funds by contributing employers

      such as the defendant.


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                                     FIRST COUNT

7.      29 U.S.C. Section 1145 requires Cestone Electric Company, Inc., to remit

       payments to plaintiffs on account of its employees represented by the Union in

       certain specified amounts in accordance with the Trust Agreements and collective

       bargaining agreements and the procedure specified by the Trustees of the

       respective Trusts.

8.      Plaintiffs’ Trust Agreements provide that plaintiff have the right to conduct

       contribution compliance audits of the books and records of the defendant which

       plaintiffs deem necessary to determine the accuracy of payments which

       defendant has previously made to the Funds in accordance with the Agreements

       referenced herein.

9.     In or about December, 2018 the Funds, by and through their designated

       representatives, caused a contribution compliance audit to be conducted of

       defendant’s books and records. Said audit was performed by the Certified Public

       Accounting firm retained by the plaintiffs.

10.    The audit disclosed that defendant failed to remit payments in accordance with

       the terms of the Agreements and on account of defendant’s employees

       performing work under the collective bargaining agreement for the period

       January 1, 2013 to December 31, 2015 to the Plaintiffs in sum of $6,632.09.

11.    The Funds, prior to the current date, made demand for payment of said debt.

       Defendant has failed and refused to remit said payment in violation of the

       collective bargaining agreement and in violation of 29 U.S.C. 1145, plaintiffs’


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       trust agreements and the referenced collective bargaining agreement.

12.    In accordance with the applicable provisions of the Employees Retirement Income

       Security Act of 1974, as amended, 29 U.S.C. Section 1132(g)(2), plaintiffs are

       entitled to collect the principal debt and interest at the rate set by 26 U.S.C.A.

       Section 6621, liquidated damages at the rate of 20% of the principal sum due,

       reasonable attorneys’ fees together with cost of suit.

WHEREFORE, the plaintiffs IBEW Local 102 Welfare, Pension, Surety and Joint

Apprenticeship Training Funds and IBEW Local 102 Distribution Fund as collection agent

for the National Electrical Benefit Fund (NEBF) for and on behalf of its Trustees demand

judgment against the defendant;

       (a)   For the entry of judgment in an amount equal to the principal sum due and

owing to the plaintiffs, plus interest at the rate set by 26 U.S.C.A. Section 6621,

liquidated damages in the amount of 20% of the principal sum due, reasonable

attorneys fees and costs of suit; and

       (B)   For such other and further relief as the Court deems equitable and just.

                                   SECOND COUNT

13.    Plaintiffs repeats and reallege every paragraph of the First Count as if same were

       set forth at length.

14.    In addition to the amounts due and owing from defendant to plaintiffs as set forth

       above, there may be due and owing additional sums for period before and after

       the periods covered by said audit as may be determined by further contribution

       compliance audit of defendants books and records.


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WHEREFORE, the plaintiffs IBEW Local 102 Welfare, Pension, Surety and Joint

Apprenticeship Training Funds and their Boards of Trustees, and the IBEW Local 102

Distribution Fund as collection agent for the National Electrical Benefit Fund (NEBF)

demand judgment against the defendant;

      (a)    For the entry of judgment in an amount equal to such additional the

principal sum as may be due and owing to the plaintiffs as determined by further audit

of defendant’s books and records plus interest at the rate set by 26 U.S.C.A. Section

6621, liquidated damages in the amount of 20% of the principal sum due, reasonable

attorneys fees and costs of suit as to those principal sums as are subject to jurisdiction

of 29 U.S.C. 1132(g)(2) and the terms of the collective bargaining agreement and trust

agreements which call for same; and

      (b)   For such other and further relief as the Court deems equitable and just.




Date: 09/24/2019                            S/TIMOTHY R. HOTT
                                            TIMOTHY R. HOTT




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